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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    FRANCHISE GROUP, INC., et al., 1                         )     Case No. 24-12480 (LSS)
                                                             )
                             Debtors.                        )     (Jointly Administered)
                                                             )
                                                             )     Re: Docket No. 355
                                                             )
                                                                   Objection Deadline:
                                                             )
                                                                   May 9, 2025 at 4:00 p.m. (ET)
                                                             )

                         NOTICE OF FILING OF THE ORDINARY
                  COURSE PROFESSIONAL DECLARATION OF RSM US LLP

       PLEASE TAKE NOTICE that on December 6, 2024, the Court entered the Order
Authorizing (A) the Debtors to Retain, Employ, and Compensate Certain Professionals Utilized
by the Debtors in the Ordinary Course of Business Effective as of the Petition Date and
(B) Waiving Certain Information Requirements of Local Rule 2016-2 [Docket No. 355]
(the “OCP Order”). 2 The OCP Order provides that each Ordinary Course Professional shall file a


1
      The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the motion
      for entry of the OCP Order [Docket No. 257].
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Disclosure Declaration prior to the receipt of payment of fees and reimbursement of expenses
incurred for postpetition services rendered to the Debtors.
        PLEASE TAKE FURTHER NOTICE that, in accordance with the procedures set forth
in the OCP Order, the Debtors hereby file the Disclosure Declaration of RSM US LLP (the “OCP
Declaration”), a copy of which is attached hereto as Exhibit A.

        PLEASE TAKE FURTHER NOTICE that, in accordance with the procedures set forth
in the OCP Order, any objections to the OCP Declaration must be filed and served on or before
May 9, 2025 at 4:00 p.m. (ET) (the “Objection Deadline”). If no timely objection is filed and
served, the Debtors shall be authorized to retain the Ordinary Course Professional on a final basis
without further order of the Court, at which time the Debtors shall be authorized to compensate
the Ordinary Course Professional consistent with the terms of the OCP Order.

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Dated: April 25, 2025
Wilmington, Delaware

/s/ Allison S. Mielke
 YOUNG CONAWAY STARGATT &                          KIRKLAND & ELLIS LLP
 TAYLOR, LLP                                       KIRKLAND & ELLIS INTERNATIONAL LLP
 Edmon L. Morton (Del. No. 3856)                   Joshua A. Sussberg, P.C. (admitted pro hac vice)
 Matthew B. Lunn (Del. No. 4119)                   Nicole L. Greenblatt, P.C. (admitted pro hac vice)
 Allison S. Mielke (Del. No. 5934)                 Derek I. Hunter (admitted pro hac vice)
 Shella Borovinskaya (Del. No. 6758)               601 Lexington Avenue
 Rodney Square                                     New York, New York 10022
 1000 North King Street                            Telephone:     (212) 446-4800
 Wilmington, Delaware 19801                        Facsimile:     (212) 446-4900
 Telephone:     (302) 571-6600                     Email:         joshua.sussberg@kirkland.com
 Facsimile:     (302) 571-1253                                    nicole.greenblatt@kirkland.com
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               mlunn@ycst.com
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                                                   Mark McKane, P.C. (admitted pro hac vice)
                                                   555 California Street
                                                   San Francisco, California 94104
                                                   Telephone:     (415) 439-1400
                                                   Facsimile:     (415) 439-1500
                                                   Email:
                                                   mark.mckane@kirkland.com
 Co-Counsel to the Debtors
 and Debtors in Possession                         Co-Counsel to the Debtors
                                                   and Debtors in Possession
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (LSS)

                               Debtors.                     (Jointly Administered)

                                                            Objection Deadline: May 9, 2025 at 4:00 p.m. (ET)

        DISCLOSURE DECLARATION OF ORDINARY COURSE PROFESSIONAL

         1.       I, Kunal Bhatt, hereby declare that the following is true to the best of my

knowledge, information and belief:

         2.       I am a Partner of RSM US LLP (the “Firm”) which maintains offices at 151 West

42nd Street, 19th Floor New York, NY 10036.

         3.       This Declaration is submitted in connection with the Order Authorizing (A) the

Debtors to Retain, Employ, and Compensate Certain Professionals Utilized by the Debtors in the


1
     The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
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     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
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     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
     Virginia 23456.
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Ordinary Course of Business Effective as of the Petition Date and (B) Waiving Certain Information

Requirements of Local Rule 2016-2 [Docket No. 355] (the “OCP Order”) of the United States

Bankruptcy Court for the District of Delaware (the “Court”) dated December 6, 2024, authorizing

the above-captioned debtors and debtors in possession (collectively, the “Debtors”) to retain

certain professionals in the ordinary course of business during the pendency of the Debtors’

chapter 11 cases (the “Chapter 11 Cases”).

       4.      The Firm is not a legal services firm.

       5.      The Firm has performed professional services, including consulting services and

financial due diligence services for the Debtors, since July 17, 2023.

       6.      As of the Petition Date, the Firm does not hold a retainer.

       7.      The Debtors have requested, and the Firm has agreed, to continue to provide

services to the Debtors pursuant to section 327 of title 11 of the United States Code, 11 U.S.C.

§§ 101–1532 (the “Bankruptcy Code”) with respect to such matters.

       8.      The Firm’s cost for services for this engagement is based on estimated hours and

was quoted as an estimated fee for services (subject to customary billing adjustments for actual

hours incurred and changes to scope of work). Our current hourly rates by personnel level are

included below at Attachment A.

       9.      The Firm does keep time records in one-tenth-of-an-hour increments.

       10.     To the best of my knowledge, formed after due inquiry, neither I nor any of the

Firm’s professionals providing services to the Debtors is a relative of the United States Bankruptcy

Judge assigned to these Chapter 11 Cases, and the Firm does not have any connection with the

United States Bankruptcy Judge, the Office of the United States Trustee, or any person employed

by the Office of the United States Trustee that would render the Firm’s retention in these Chapter




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11 Cases improper. Further, I am not aware of any professionals employed by the Firm who is a

relative of the United States Bankruptcy Judge assigned to these Chapter 11 cases.

        11.     To the best of my knowledge, formed after due inquiry, neither I, the Firm, nor any

professional thereof has any connection with, or currently represents, any of the Debtors’ creditors

or other parties in interest with respect to the matters upon which it is to be engaged or have any

relationship with any such person, their attorneys or their accountants that would be adverse to the

Debtors or their estates.

        12.     In addition, although unascertainable at this time after due inquiry, by virtue of the

magnitude of the Debtors’ potential universe of creditors, other parties in interest and the Firm’s

clients, the Firm may have in the past represented, currently represent, and may in the future

represent entities and individuals that are creditors of the Debtors or are other parties in interest in

matters entirely unrelated to the Debtors and their estates. To the best of my knowledge, formed

after due inquiry, the Firm does not and will not represent any such parties in connection with

these pending Chapter 11 Cases and does not have any relationship with any creditor or party in

interest that would be adverse to the Debtors or their estates.             I believe that the Firm’s

representation of such entities in matters entirely unrelated to the Debtors is not adverse to the

Debtors’ interests, or the interests of their creditors or estates in respect of the matters for which

the Firm will be engaged, nor will such representation impair the Firm’s ability to represent the

Debtors in these Chapter 11 Cases.

        13.     The Firm’s process of ascertaining whether it holds or represents an interest adverse

to the Debtors, their estates, or any class of creditors or equity interest holders or parties in interest

consists of the following: the Firm searches its own internal systems that it utilizes for conflicts

checks in the ordinary course of business as a professional accounting firm, and follows its




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ordinary course procedures for identifying potential conflicts of interest. When those systems and

procedures reveal a possible conflict, the Firm manually reviews those results and determines if

there is a conflict.

         14.      Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), I obtained a list of interested parties (the “Interested Parties List”) from

counsel to the Debtors, which includes the Debtors, their creditors, other parties in interest, and

certain professionals employed in the above-captioned chapter 11 cases (the “Interested Parties”)

and undertook a search for any connections between the Firm and the Interested Parties as set forth

above.    The Firm’s review did not identify any connections, including current and prior

representations.

         15.      To the best of my knowledge, formed after due inquiry, the Firm does not perform

services that relate to the Debtors or the above-captioned chapter 11 cases, or have any relationship

with any such person, their attorneys or their accountants that would be adverse to the Debtors or

their estates.

         16.      In light of the foregoing, I believe that the Firm does not hold or represent any

interest materially adverse to the Debtors, their estates, creditors, or equity interest holders, as

identified to the Firm, with respect to the matter in which the Firm will be engaged.

         17.      In the last year, the Firm has been paid $0 by the Debtors in respect of services

rendered to the Debtors. In addition, the Firm has rendered services that have not yet been billed

or that have been billed but with respect to which payment has not yet been received. The Firm is

currently owed $131,250 on account of prepetition services. The Firm has waived, or will waive,

any prepetition claims against the Debtors’ estates.




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       18.     I also understand the limitations on compensation and reimbursement of expenses

under the OCP Order. Specifically, the Firm understands that in the event its fees and expenses

exceed a total of $50,000 per month, on average, over a rolling three-month period, the Firm will

be required to file with the Court a fee application for approval of its fees and expenses for such

month in accordance with sections 330, 331, and 504(b) of the Bankruptcy Code, Bankruptcy Rule

2016, and rule 2016-1 of the Local Rules of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), and any applicable procedures or orders of the Court.

       19.     Except as set forth herein, no promises have been received by the Firm or any

partner, associate, or other professional thereof as to compensation in connection with these

Chapter 11 Cases other than in accordance with the provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and orders of the Court.

       20.     The Firm further states that it has not shared, nor agreed to share any compensation

received in connection with these Chapter 11 Cases with another party or person, other than as

permitted by the Bankruptcy Rules.

       21.     The foregoing constitutes the statement of the Firm pursuant to sections 329 and

504 of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016(b).

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: April 25, 2025

                                                    ___________________________________
                                                    Kunal Bhatt
                                                    151 West 42nd Street
                                                    Floors 18-20
                                                    New York, NY 10036




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 Attachment A: Prevailing Hourly Rates By Consultant Level

Consultant Level                  Average Hourly Rate
Partner/Principal                 $1,075 - $1,400
Managing Director                 $1,040 - $1,295
Senior Director                   $970 - $1,105
Director                          $920 - $1,055
Manager                           $755 - $825
Supervisor                        $590 - $660
Senior Associate                  $465 - $545
Associate                         $340 - $425




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